 Case 18-63015-wlh           Doc 11      Filed 09/19/18 Entered 09/19/18 11:02:39                  Desc
                                               Page 1 of 4


                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         Case No. A18-63015-WLH
         MELANIE LAWSON CLARK

                     Debtor(s)


          STANDING CHAPTER 13 TRUSTEE’S FINAL REPORT AND ACCOUNT

        Nancy Whaley, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as follows:


         1) The case was filed on 08/06/2018.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

         4) The trustee filed action to remedy default by the debtor in performance under the plan on
NA .

         5) The case was dismissed on 08/28/2018.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 1.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
 Case 18-63015-wlh           Doc 11          Filed 09/19/18 Entered 09/19/18 11:02:39                        Desc
                                                   Page 2 of 4



Receipts:

           Total paid by or on behalf of the debtor                         $0.00
           Less amount refunded to debtor                                   $0.00

NET RECEIPTS:                                                                                                 $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                        $0.00
    Court Costs                                                                  $0.00
    Trustee Expenses & Compensation                                              $0.00
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                             $0.00

Attorney fees paid and disclosed by debtor:                          $0.00


Scheduled Creditors:
Creditor                                            Claim         Claim          Claim         Principal       Int.
Name                                  Class       Scheduled      Asserted       Allowed          Paid          Paid
INT ERNAL REVENUE SERVICE         Priority                NA         200.00         6,525.44          0.00          0.00


Summary of Disbursements to Creditors:
                                                                   Claim               Principal              Interest
                                                                Allowed                    Paid                  Paid
Secured Payments:
      Mortgage Ongoing                                             $0.00                  $0.00                $0.00
      Mortgage Arrearage                                           $0.00                  $0.00                $0.00
      Debt Secured by Vehicle                                      $0.00                  $0.00                $0.00
      All Other Secured                                            $0.00                  $0.00                $0.00
TOTAL SECURED:                                                     $0.00                  $0.00                $0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                                 $0.00                  $0.00                $0.00
        Domestic Support Ongoing                                   $0.00                  $0.00                $0.00
        All Other Priority                                     $6,525.44                  $0.00                $0.00
TOTAL PRIORITY:                                                $6,525.44                  $0.00                $0.00

GENERAL UNSECURED PAYMENTS:                                        $0.00                  $0.00                $0.00


UST Form 101-13-FR-S (9/1/2009)
 Case 18-63015-wlh              Doc 11       Filed 09/19/18 Entered 09/19/18 11:02:39         Desc
                                                   Page 3 of 4



 Disbursements:

          Expenses of Administration                                $0.00
          Disbursements to Creditors                                $0.00

 TOTAL DISBURSEMENTS :                                                                         $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 09/19/2018
                                                 By: /s/ Nancy Whaley
                                                                        Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
 Case 18-63015-wlh          Doc 11      Filed 09/19/18 Entered 09/19/18 11:02:39                 Desc
                                              Page 4 of 4


                                    CERTIFICATE OF SERVICE


Case No. A18-63015-WLH


This is to certify that I have this day served the following with a copy of the foregoing Trustee's Final
Report by depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.

Debtor(s):
MELANIE LAWSON CLARK
5313 REDFIELD ROAD
ATLANTA, GA 30338



By Consent of the parties, the following have received an electronic copy of the foregoing Trustee's
Final Report through the Court's Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 19th day of September, 2018.


/s/____________________________________
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   State Bar No. 377941
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201




UST Form 101-13-FR-S (9/1/2009)
